SO ORDERED.

SIGNED this 27th day of June, 2024.




____________________________________________________________________________




                     IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF KANSAS

In Re:

         Lodging Enterprises

                               Debtor(s)              Case No. 24-40423


              ORDER SCHEDULING CHAPTER 11 STATUS CONFERENCE
                          AND DIRECTING NOTICE


         On August 6, 2024 at 2:30 pm, the Court will conduct a preliminary status conference in

this case in Room 220, United States Courthouse, 444 SE Quincy, Topeka, Kansas 66683, at which

time the Debtor's managing officer and Debtor's counsel are hereby directed to appear via

telephone by dialing (888) 363-4749, access code 7701720#.

         The principal purpose of the status conference is to assist the Court in managing its docket

and the case. Parties other than the Debtor's management and its counsel will be allowed to speak

briefly about concerns or problems they anticipate may arise in the case, but they will not be




                  Case 24-40423        Doc# 26     Filed 06/27/24     Page 1 of 3
allowed to request relief or seek orders on pending motions and proceedings that will be otherwise

scheduled.

       Five (5) calendar days before the status conference or by August 1, 2024, the Debtor will

file with the Court a status report containing the following information:

   1. The date the case was filed and the date Debtor's counsel applied for appointment to

       represent the Debtor.

   2. The Debtor's proposed deadline for filing claims.

   3. The Debtor's proposed deadline for filing objections to claims.

   4. The Debtor's proposed deadline for filing a spreadsheet report of allowed and disputed

       claims by class.

   5. The Debtor's proposed deadline for filing any avoidance actions.

   6. The Debtor's proposed deadline for filing a disclosure statement and plan of reorganization.

   7. The Debtor shall also indicate to the Court:

             a.   The names and addresses of the natural persons in control of the debtor (if a

                  corporation or partnership) designated for purposes of Fed.R.Bankr.P. 9001(5).

             b.   Whether the initial financial report and other documentation required by the United

                  States Trustee have been filed and whether the Debtor is current on the filing of its

                  monthly financial reports to the United States Trustee.

             c.   Whether the Debtor's schedules have been filed in substantially complete form.

             d.   Whether the Debtor is current on all tax filings, and if not, which returns are

                  outstanding and when they will be filed.

             e.   Other issues which the Debtor and its counsel should address are:

   8. The Debtor's projections for financial operations for the first 120 days of this case.




                   Case 24-40423        Doc# 26     Filed 06/27/24     Page 2 of 3
    9. The Debtor's financial history for the three (3) years prior to the filing of the petition

        (annual figures).

    10. The expected budget for professionals in this case.

    11. The problems which require resolution through the bankruptcy process.

        The Court directs Debtor's counsel to serve a copy of this Order upon the United States

Trustee, the Internal Revenue Service, the Unsecured Creditors' Committee (or the 20 largest

unsecured creditors if no committee has been appointed), all secured creditors, and the Debtor's

officers and directors (if Debtor is a corporate Debtor) or the general and limited partners (if Debtor

is a partnership Debtor) within seven (7) days of this Order. Upon such service, Debtor's counsel

shall file a Certificate of Service thereof.

        FAILURE TO APPEAR AT THE PRELIMINARY STATUS CONFERENCE, TO

FILE THE REQUIRED REPORT, OR TO SERVE NOTICE MAY RESULT IN THE

DISMISSAL OF THE CASE OR CONVERSION TO A CASE UNDER CHAPTER 7.

        IT IS SO ORDERED.

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                  Case 24-40423        Doc# 26     Filed 06/27/24      Page 3 of 3
